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                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10
     UNITED STATES OF AMERICA,              )
11                                          )                 NO. CR02-374C
                      Plaintiff,            )
12                                          )
                v.                          )
13                                          )                 ORDER
     ALBERTO MONZON,                        )
14                                          )
                      Defendant.            )
15   _______________________________________)
16          THIS MATTER comes before the Court on a motion by the United States, joined
17   in by the defendant, to continue the trial date beyond the current speedy trial expiration
18   date. Having considered the entirety of the record and files herein, the Court finds that
19   failure to grant a continuance would likely result in a miscarriage of justice.
20          Defense counsel was just appointed and the case is very complex. There were
21   originally 23 charged defendants. The evidence includes over 1,000 intercepted
22   telephone conversations, all in Spanish, 17 residential search warrants, and many video
23   and audio tapes. The case is four years old, and many of the witnesses now live out of
24   state, including the two lead case agents.
25          The Speedy Trial Act, 18 U.S.C. § 3161(e) allows a court to extend a trial date
26   beyond the statutory 70-day limit to 180 days if “unavailability of witnesses or other
27   factors resulting from passage of time shall make trial within 70 days impractical.” It is
28   unreasonable to expect adequate preparation for trial if it is set within the current speedy
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 1   trial period, which ended approximately April 15, 2006, if it is calculated from the date of
 2   the mandate by the Court of Appeals. The Court further finds that the interests of the
 3   public and the defendant in a speedy trial in this case are outweighed by the ends of
 4   justice.
 5          IT IS NOW, THEREFORE, ORDERED that trial in this matter be continued to
 6   May 30, 2006, and that the time between the date of this Order and the new trial date be
 7   excludable time under the Speedy Trial Act pursuant to Title 18, United States Code, §§
 8   3161(e), 3161(h)(8)(A), 3161(h)(8)(B)(i),(ii) and (iv).
 9          IT IS FURTHER ORDERED that pre-trial motions shall be filed on or before
10   May 11, 2006.
11          Dated this 25th day of April, 2006
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                                                      A
                                                      John C. Coughenour
14                                                    United States District Judge

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